 Case 5:21-cv-10545-JEL-KGA ECF No. 3, PageID.65 Filed 03/12/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

 MARCY CURTIS,                   )
                                 )
                                 ) Case No. 21-cv-10545-JEL-KGA
                 Plaintiff,      )
                                 )
                                 ) NOTICE OF VOLUNTARY
       v.                        ) DISMISSAL
                                 )
 TCF FINANCIAL CORPORATION,      )
                                 )
 GARY TORGOW, THOMAS C.          )
 SHAFER, VANCE K. OPPERMAN,      )
                                 )
 DAVID T. PROVOST, PETER BELL, )
 KAREN L. GRANDSTRAND,           )
                                 )
 RICHARD H. KING, RONALD A.      )
 KLEIN, BARBARA J. MAHONE,       )
                                 )
 BARBARA L. MCQUADE, ROGER J. )
 SIT, JULIE H. SULLIVAN, JEFFREY )
                                 )
 L. TATE, ARTHUR A. WEISS,       )
 FRANKLIN C. WHEATLAKE, and      )
                                 )
 THERESA M.H. WISE,              )
                                 )
                 Defendants.     )
                                 )

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), plaintiff Marcy Curtis (“Plaintiff”) voluntarily dismisses the claims

in the captioned action (the “Action”). Because this notice of dismissal is being filed

with the Court before service by defendants of either an answer or a motion for

summary judgment, Plaintiff’s dismissal of the Action is effective upon the filing of

this notice.
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Dated: March 12, 2020                     WEISSLAW LLP


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